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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Florida [=]

GAIL JENKINS

Plaintiff(s)
Vv.

CARNIVAL CORPORATION, a foreign profit
corporation d/b/a CARNIVAL CRUIS LINES

Civil Action No. 1:17-CV-22628

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Defendant(s)

SUMMONS IN A CIVIL ACTION

CARNIVAL CORPORATION
clo NRAI SERVICES, INC.
1200 South Pine Island Road
Plantation, FL 33324

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

. William E. Sublette, Esq.
whose name and address are: Sublette Law Offices

250 N. Orange Ave., Ste. 1220
Orlando, FL 32801

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
